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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAW ARE


     HBAC MATCHMAKER MEDIA, INC.,

                                   Plaintiff,

                    v.                              C.A. No. 13-430-SLR-SRF

     NBC Entertainment, a division of NBC
     W est, LLC;Bravo Media LLC;Universal
     Television Networks;CNBC LLC;
     Telemundo NetworkGroup LLC;NBC
     Sports Group, a division of NBCUniversal
     Media, LLC;NBC News Digital LLC;
     Oxygen Media LLC;and E!Entertainment
     LLC.,

                                   Defendants.


                   REPORT AND STIPULATION TO CONTINUE STAY
                 PENDING EXECUTION OF SETTLEMENT AGREEMENT

            W HEREAS the stipulation of HBAC Matchmaker Media, Inc. (“HBAC”) and

     NBC Entertainment, a division of NBC W est, LLC;Bravo Media LLC;Universal

     Television Networks;CNBC LLC;Telemundo NetworkGroup LLC;NBC Sports Group,

     a division of NBCUniversal Media, LLC;NBC News Digital LLC;Oxygen Media LLC;

     and E!Entertainment LLC. (collectively, “NBC”) to stay pending settlement was entered

     by the Court on January 11, 2017, and provided that the parties would provide the Court

     with a report concerning the status of the matter if the action had not been dismissed

     within thirty (30) days;and

            W HEREAS the parties are continuing to finalize the formal documentation of

     their settlement and respectfully request that the Court extend the stay for forty-five (45)

     days to enable them to finalize that documentation and file a stipulation of dismissal;
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            NOW THEREFORE,

            IT IS HEREBY STIPULATED AND AGREED by and between HBAC and

     NBC, subject to the approval of the Court, that the stay of all deadlines and scheduled

     events in C.A. No. 13-430is hereby extended until March 27, 2017, pending the filing of

     a stipulation of dismissal. If this case is not dismissed by that date, the parties shall

     provide the Court with a further report concerning the status of the matter.



     BAYARD, P.A.                                            MORRIS, NICHOLS, ARSHT &TUNNELLLLP

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     Dated: February 10, 2017
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     IT IS SO ORDERED this ___day of ___________________________, 2017.


                                          ____________________________________
                                          United States District Judge
